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                             EXHIBIT A
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Filing # 216618640 E-Filed 02/12/2025 01:21:15 PM


               IN THE COUNTY COURT OF THE NINTH JUDICIAL CIRCUIT
                       IN AND FOR ORANGE COUNTY, FLORIDA
                              SMALL CLAIMS DIVISION

         THOMAS KIRPATRICK,


               Plaintiff                              Case No.:

                      v.



         EQUIFAX INFORMATION
                                                            JURY TRIAL DEMANDED
         SERVICES, LLC,

               Defendant.

                           COMPLAINT    AND DEMAND FOR JURY TRIAL

              COMES NOW, the Plaintiff, THOMAS KIRPATRICK                 ("Mr. Kirpatricle),

        by and through his undersigned counsel, Seraph Legal, P.A., and complains of the

        Defendant, EQUIFAX INFORMATION                SERVICES, LLC (Equifax") and in

        furtherance thereof states as follows:

                                   PRELIMINARY       STATEMENT

              1.     This is an action for damages that do not exceed $8,000, exclusive of

        attorneysfees and costs, brought by Mr. Kirpatrick against Equifax for violations

        of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. ("FCRA”).

                                           JURISDICTION

              2.     Subject matter jurisdiction arises under the FCRA, 15 U.S.C. § 1681p

        and section 34.01, Florida Statutes.

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        3.     Equifax is subject to the jurisdiction of this Court pursuant to section

 48.193, Florida Statutes.

        4.     Venue is proper       in Orange County, Florida          because Equifax

 committed the acts of which Mr. Kirpatrick complains in Orange County, Florida.

                                        PADTTVC




                                     Mr. Kirpatrick

        5.     Mr. Kirpatrick is a natural person over       the age of eighteen (18)


 residing in the City of Winter Garden, Polk County, Florida, and is sui juris.

        6.     Mr. Kirpatrick is a Consumer pursuant to the FCRA, 15 U.S.C. §

 1681a(c).

                                             Equifax

        7.     Equifax is a Georgia corporation, with a principal business address of

 1550 Peachtree St. NE., Atlanta, George 30309.

        8.     Equifax is registered to conduct business in the State of Florida, where

 its registered agent is       Corporation Service Company, 1201 Hays Street,

 Tallahassee, Florida 32301.

        9.     Equifax is a nationwide Consumer Credit Reporting Agency (CRA")

 within the meaning of the FCRA, 15 U.S.C. § 1681a(f), in that, for monetary fees,

 dues, and/or on   a cooperative   nonprofit basis, it regularly engages in whole or in

 part in the practice of assembling or evaluating consumer          credit information   or


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 this information   on   consumers       for the purpose of furnishing consumer      reports to

 third parties, and which             uses    means   or   facilities of interstate commerce,

 specifically the mail and internet, for the purpose of preparing or furnishing

 consumer     reports.

                                 FACTUAL ALLEGATIONS

        10.     On or    about December 11, 2024, Mr. Kirpatrick requested and

 obtained a copy of his consumer             credit disclosure from Equifax.

        11.     Pursuant to 15 U.S.C. § 1681g(a), upon receipt of Mr. Kirpatrick's

 request, Equifax was required to disclose all information "clearly and accurately"

 in Mr. Kirpatrick's file at the time of his request, with the limited exception that

 his                                 could be truncated upon request.

        12.     Upon review of the consumer                disclosure Equifax furnished, Mr.

 Kirpatrick noted several errors.

                 Equifax's Disclosure Was Not Complete, Clear, or Accurate

                                      Missing Original Creditor

        13.     Despite a requirement to disclose all information in his credit file at

 the time of his request, Equifax's Disclosure omitted significant amounts                   of

 information contained in Mr. Kirpatrick's credit file.




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             14.        Equifax's Disclosure states: "Other accounts                                      are    those that are not


 already identified as Revolving, Mortgage, or Installment Accounts such as child

 support obligations or rental agreements."

             15.        Mr. Kirpatrick's Equifax Disclosure contains three (3) accounts in the

 "Othee section and Equifax did not identify the Original Creditor for any of the

 accounts.

             16.        The three (3) accounts                     were     reported to Equifax by LVNV Funding

 LLC ("LVNV").


   5. Other Accounts

   Other accounts are those that are not already identified   as   Revolving, Mortgage or Installment Accounts such as child support
   obligations or rental agreernents.


   5.1 LVNV           FUNDING LLC (CLOSED)

   Summary

   Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score.    Irs
   calculated by dividing an accounts reported balance by its credit limit.

                                                                                Reported Balance

   Account   Status                                                             Available    Credit




   5.2 LVNV FUNDING LLC (CLOSED)


   Summary

   Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score.     It's
   calculated by dividing an accounts reported balance by its credit limit.

                                                                                 Reported Balance

   Account Status                                                                Available    Credit




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   5.3 LVNV      FUNDING LLC (CLOSED)

   Summary

   Your debt-to-credit ratio represents the amount of credit you're using and generally makes up a percentage of your credit score.   It's
   calculated by dividing an account's reported balance by its credit limit.

                                                                            Reported Balance

   Account Status                                                           Available Credit




           17.        LVNV is a Debt Buyer                    -
                                                                  a   company whose primary purpose is the

  purchase and collection of debts that were                              originally owed to third parties.

           18.        As LVNV does not lend to consumers, it is never                                     an   Original Creditor.

           19.        Despite this, when disclosing the LVNV tradelines to Mr. Kirpatrick,

  Equifax indicated that LVNV was the original creditor for the respective accounts,

  omitting any reference to the true original creditors.

           20.        Despite 15 U.S.C. § 1681g(a)'s requirement that Equifax provide a full

  and complete disclosure of the information contained within its records, Equifax

  placed a notation under the "Account Details" section that states, "Contact the

  creditor or lender if you have any questions about it."

           21.        Equifax thus shifted its burden of disclosure onto Mr. Kirpatrick

  instead of fulfilling its obligations.




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                               Missing
         22.     Making matters    even   more      confusing for Mr. Kirpatrick, Equifax

  omitted all but the last four (4) digits of the                       relating to the LVNV

  tradelines.

         23.     LVNV reported the full                        to Equifax, and Equifax had

  this information in its file at the time Mr. Kirpatrick made his request.

         24.     When Equifax produces and sells reports regarding Mr. Kirpatrick to

  third parties, it includes the full account numbers and the names           of the original

  creditors.

         25.     The accurate nature of the contents of its files and the reports Equifax

  provides to third parties demonstrates Equifax's ability to comply with 15 U.S.C.

  §1681g(a).

         26.     Through its failure to provide the                             and original

  creditor names     in the report it provided to Mr. Kirpatrick, Equifax breached its

  duty to disclose all the information regarding the accounts, as such information is

  necessary for a consumer     to research and evaluate the information contained in

  his credit file.

         27.     Absent such information, a consumer        is reduced to, at best, playing

  detective and, at worst, guessing whether the information is accurate.



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        28.       Equifax's Disclosure contains a section titled "Collections," stating:

  "Collections    are   accounts   with outstanding debt that have been placed by a

  creditor with a collection agency. Collections stay on your credit report for up to 7

  years from the date the account first became past due. They generally have a

  negative impact on your credit score."

        29.       LVNV is registered with the Florida Office of Financial Regulation as

  a Consumer Collection       Agency.

        30.       Thus, Equifax should have placed those tradelines under the

  "Collections"     header of Mr. Kirpatrick's         Disclosure, rather than the "Other"

  header.

        31.       Equifax also disclosed other accounts, beyond those identified           as


  "Other Accounts," to Mr. Kirpatrick without full

        32.       Under the heading "Revolving Accounts," Equifax disclosed two (2)

  tradelines without full

        33.       The data furnishers for these tradelines reported full

              to Equifax, and this information     was    contained within Equifax's file on

  Mr. Kirpatrick at the time of his request.

        34.       Equifax's failure to disclose full                      violates the FCRA's

  requirement that a CRA disclose all information contained in a consumer's credit

  file clearly and accurately. See Washington v. Equifax, Case No. 3:19-cv-00154 (M.D.
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  Tenn. Jun. 12, 2019) (The plain language of the statute requires that the consumer

  reporting agency 'shall clearly and accurately disclose to the consumer               [a]ll

  information in the consumer's file at the time of the request.15 U.S.C. § 1681g. In

  the absence of binding authority stating that a truncated                        is a clear

  and accurate disclosure, the Court finds that Plaintiff has stated a plausible claim

  for a violation of Section 609 of the FCRA.").

        35.      An entity's failure to provide accurate and truthful information         as



  required by law creates an injury-in-fact, thus generating standing pursuant to

  Article III. See, e.g., Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), holding the

  "alleged injury to (plaintiff s) statutorily created right to truthful            housing

  information"    was   a   cognizable injury in and of itself, regardless of whether the

  plaintiff actually hoped to reside in the defendant's housing complex; therefore
  "the Art. III requirement of injury in fact [was] satisfied."

        36.      The lack of full and accurate                         caused Mr. Kirpatrick

  great frustration and emotional distress when attempting to understand his credit

  report and compare it with his own       records.

        37.      Further, pursuant to an Opinion Letter (Advisory Opinion to Darcy,

  June 30, 2000) from the Federal Trade Commission (FTC"), "it is our view that a

  CRA that always scrambles or truncates account (or                                   does

  not technically comply with Section 609 because it does not provide 'accurate' (and

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  perhaps not 'clear') disclosure of 'all informationin    the file." SEE PLAINTIFFS

  EXHIBIT A.

        38.    Equifax's omission of the original creditor and full

  from its reports greatly decreases a consumer's ability to understand his consumer

  credit disclosure, identify the accounts, and compare those accounts with his own

  records.

        39.    The Consumer       Data Industry Association         ("CDIA"),    a   trade

  association representing CRAs including Equifax, published the Credit Reporting

  Resource Guide, which states that:

        The purpose of reporting the original creditor name is to help
        consumers   identify the source of accounts when they appear on
        credit reports. Without the original creditor names, consumers may
        not know what the accounts represent. SEE PLAINTIFFS EXHIBIT
        B.

        40.    The Credit Reporting Resource Guide instructs         debt collectors to

  "(r)eport the name   of the company/creditor that originally opened the account for

  the consumer." SEE PLAINTIFFS         EXHIBIT B.

        41.    Upon information        and belief, LVNV     complied with     the Credit

  Reporting Resource Guide and reported the name     of the original creditors to Equifax.




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                                       Prevalence of Equifax's Errors

         42.     Upon information and belief, Equifax generated the Disclosure it

  provided to Mr. Kirpatrick using a template that extracts database information

  from a consumer's file and populates it into various pre-programmed fields on                      a


  consumer     disclosure form.

         43.     Upon information           and belief, Equifax         uses    this   same   template

  virtually every time a        consumer        requests their file from Equifax through

  www.annualcreditreport.com.

         44.     Upon information and belief, most consumers                    obtain their Equifax

  credit disclosure from www.annualcreditreport.com.

         45.     Disclosures                 consumers                  retrieve              through

  www.annualcreditreport.com all exhibit the same missing                                         and

  original creditor name     errors.


         46.     Therefore, every        consumer        who requested their disclosure from

  Equifax through www.annualcreditreport.com, and had accounts that appeared

  in the "Othee       section since Equifax began using the template, received a

  consumer     disclosure with the same        errors    as   Mr. Kirpatrick.

         47.     Equifax's error       has likely affected thousands of consumers.




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           48.   Equifax has known of the flaws in its systems for years, but has done

  nothing to fix them, despite the large number of consumers         affected. See, e.g., Purdy

  v.   Equifax Information Services LLC, No. 8:19-cv-00217 (M.D. Fla. Jan. 28, 2019).

           49.   Equifax's knowing and repeated conduct warrants               an   award of

  punitive damages.

           50.   Equifax's failure to disclose all the information in a consumer's credit

  file in its free annual disclosures is an intentional violation of 15 U.S.C. § 1681g(a),

  motivated by Equifax's desire to avoid costs and increase profits.

           51.   Mr. Kirpatrick has a right to receive a full and complete disclosure of

  the contents of his credit file upon demand at least once     per year without charge,

  and Equifax must present that disclosure clearly and accurately. 15 U.S.C. § 1681j.

           52.   Equifax's failure to disclose the information accurately, fully, and

  clearly within its files deprived Mr. Kirpatrick of this right.

           53.   Mr. Kirpatrick has hired the undersigned law firm to represent him

  in this matter and has assigned it his right to obtain reimbursement for his

  reasonable fees and costs.

                                        COUNT I
                         UIFAX'S WILLFUL VIOLATIONS            OF THE FCRA

           54.   Mr. Kirpatrick adopts and incorporates Paragraphs 1 through 53 as if

  fully restated herein.

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        55.      Equifax violated 15 U.S.C. § 1681g(a)(1) when it responded to Mr.

  Kirpatrick's     request for his consumer         disclosure by failing to clearly and

  accurately disclose to Mr. Kirpatrick, a Consumer, all the information in his file at

  the time of his request.

        56.      Equifax disclosed the accounts LVNV reported to Equifax without

  disclosing the full account numbers or the names          of the Original Creditors to Mr.

  Kirpatrick, as well two (2) additional accounts without full

        57.      Equifax     knowingly    provided     inaccurate      information   in     Mr.

  Kirpatrick's Disclosure, having known of these issues as other consumers                 have

  identified and disputed them for years.

        58.      Equifax is therefore liable to Mr. Kirpatrick for the greater of his actual

  and statutory damages of up to $1,000 per violation, plus attorneysfees and costs

  pursuant to 15 U.S.C. § 1681n.

        WHEREFORE, Mr. Kirpatrick respectfully requests this Honorable Court

  enter judgment against Equifax for:

        a.       The greater of statutory damages of $1,000 per incident              or    Mr.

                 Kirpatrick's actual damages pursuant to 15 U.S.C. § 1681n(a)(1)(A);

        b.       Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

        c.       Reasonable costs and attorneys' fees pursuant to 15 U.S.C.                   §


                 1681n(a)(3); and,
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        d.     Such other relief this Court deems just and proper.

                                   COUNT II
                 EQUIFAX'S NEGLIGENT VIOLATIONS                   OF THE FCRA

        59.    Mr. Kirpatrick adopts and incorporates Paragraphs 1 through 53 as if

  fully restated herein.
        60.    Equifax violated 15 U.S.C. § 1681g(a)(1) when it responded to Mr.

  Kirpatrick's request for his      consumer      disclosure by failing to clearly and

  accurately disclosing to Mr. Kirpatrick, a Consumer, all the information in his file

  at the time of his request.

        61.    Equifax disclosed the accounts LVNV reported to Equifax without

  disclosing the full account numbers or the names         of the Original Creditors to Mr.

  Kirpatrick, as well as two (2) additional accounts without full

        62.    Equifax has a legal duty to provide consumers            with   a   clear and

  accurate disclosure of all information within its file at the time of the consumer's


  request.

        63.    Equifax breached this duty when Equifax disclosed the accounts

  LVNV reported to it without disclosing the full account numbers or the names            of

  the Original Creditors to Mr. Kirpatrick, as well as two (2) additional accounts

  without the full                         even   though data furnishers reported full

                     to Equifax.


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        64.   Equifax is therefore liable to Mr. Kirpatrick for his actual damages,

  plus attorneysfees and costs, pursuant to 15 U.S.C. § 1681o.

        WHEREFORE, Mr. Kirpatrick respectfully requests this Honorable Court

  enter judgment against Equifax for:

        a.    Mr. Kirpatrick's actual damages pursuant to 15 U.S.C. § 1681o(a)(1);

        b.    Reasonable costs and attorneys' fees pursuant to 15 U.S.C.              §


              1681o(a)(2); and,

        c.    Such other relief this Court deems just and proper.

                             JURY TRIAL DEMANDED

        Mr. Kirpatrick hereby demands a jury trial on all issues so triable.

        Respectfully submitted on February 12, 2025, by:

                                                 SERAPH LEGAL, P. A.

                                                 /s/ Megan A. Rosenberg
                                                 Megan A. Rosenberg, Esq.
                                                 Florida Bar No.: 1005213
                                                 MRosenberg©SeraphLegal.com
                                                 2124 W. Kennedy Blvd., Suite A
                                                 Tampa, FL 33606
                                                 Tel: 813-567-1230 (Ext. 404)
                                                 Fax: 855-500-0705
                                                 Counsel for Plaintiff




  ATTACHED EXHIBIT LIST
  A.   FTC Opinion Letter
  B.   Credit Reporting Resource Guide, Original Creditor Name Excerpt

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                                                                              EXHIBIT A
                                                                           FTC Opinion Letter




          •L                    FEDERAL TRADE                          COMMISSION
                                                 1110,                        1.,UI.JUIVJtirko


                                                                                                                                               IMM/M//////////                 t




        Advisory Opinion to Darcy (06-30-00)
        June      30    2000

        Denise         A. Darcy, Esq.
        Asst.     General     Counsel
        TRANS UNION
        555 West            Adams    Street
        Chicago, Illinois           60661


        Dear Ms Darcy

        This responds to your letter dated concerning whether the Fair Credit Reporting Act CFCRA") allows Trans Union or
        another consumer   reporting agency ("CRA"), for security purposes, to "truncate, scramble or mask the
        and                                          when   making file disclosures                        You report that such
                                                                                         to consumers.                               a     procedure has been
        recommended              to you by a consumer          who   was   recently the victim     of account    takeover   fraud   by a    perpetrator who
        fraudulently procured the individual's                 Trans Union file by impersonating the consumer.     You state                'While   some        creditors
        truncate       or    scramble       the data before   they supply it to us. not all do; therefore. many of the                                      on    our   file
        are     complete and accurate.              and that is what we disclose to the consumer.'


        Section 609(a)(1) of the FCRA states          that CRAs. including major credit bureaus      such as Trans Union, 'shall, upon
        request (by a consumer), clearly and accurately disclose to the consumer                 All information
                                                                                                            _.
                                                                                                                  in the consumers    file at the
        time of the requesr (emphasis added). If the information in the consumers file at the time of the request" includes
        account    and                   numbers, the provision thus normally requires that the CRA "clearly and accurately" include
        such items in its disclosure    to consumers.      However, because the trigger for a file disclosure is a "requesr by a consumer,
        a CRA may allow consumers          (such as the individual in your letter) to choose truncation or other security measures         in their
        own   file disclosure. In other words. although Section 609 provides consumers            with a right to aff information in Me file. a
        CRA may provide a method for the consumer             to ask for less than all information and then comply with that 'request" when
        it makes the disclosure_

        In sum,   it is our view that a CRA that always scrambles    or truncates   account    (or                          does not

        technically comply with Section 609 because it does not provide "accurate            (and perhaps not "clear) disclosure  of "all
        information" in the file, However, if a consumers      "requesr for a file disclosure is framed so as to allow some items in the
        file to be abbreviated    or revised in that fashion. a CRA making such a disclosure       would comply with Section 609.


        The     opinions set forth in this informal staff letter            are   not   binding on the Commission

        Sincerely yours.

        Clarke W. Brinckerhoff
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                                                             EXHIBIT B
                                                   Crcdit Reporting Resource Guide
                                                   Original Creditor Name Excerpt




             Field Definitions

             K1 Segment
             Original Creditor                          Name

            The K1   Segment must be present each time the account is reported by collection agencies, debt buyers, check
             guarantee companies, student loan guaranty agencies, and the U.S. Department of Education. The purpose of
             reporting the original creditor name   is to help consumers   identify the source    of accounts when they
             appear on credit reports. Without the original creditor names, consumers     may not know what the accounts
             represent.
             Some state laws and CDIA policy stipulate that the original client/creditor must be identified.                      Federal law
             stipulates that the name of the payee must be identified when reporting returned checks.

             Only one   occurrence       of the K1      Segment can   be appended to the Base Segment.            If not applicable, do not
             report the K1 Segment.

              FIELD        FIELD NAME & DESCRIPTION                                                                        366 and 426             FORMATS

                                                                                                                         Length         Position     Recording
                                                                                                                                                     Technique

                           Segment Identifier                                                                              2              1-2           AN
                           Contains      a   constant    of Kl.

                  2
                           Original Creditor            Name                                                              30             3-32           AN
                           The content        of this field is dependent on the   type of reporter.
                           Collection  Agencies: Report the name of the company/credltor that
                           originally opened the account for the consumer, even if the account had
                           been turned over to multiple collection agencies.

                           Debt Buyers: Report the name     of the company/creditor that originally
                           opened the account for the consumer, even if the account had been sold
                           multiple times to different debt  buyers. Refer to the K2 Segment for
                           "purchased from" information.

                           Companies Reporting Returned Checks: Report the name of the payee;
                           i.e., name of company to which the check was written.    Refer to
                           Frequently Asked Question 16 for additional guidelines on reporting
                           retumed       checks.

                           Student Loan Guarantors/U.S. Department of Education:                  Report the
                           name   of the original student loan lender.

                           One of the following three options should be used when reporting a
                           creditor's name  that would reveal sensitive information about the
                           consumer.


                           1.    Report the   name   of the institution, but do not include reference to
                                 the type of service. For example, use the hospital name without
                                 identifying that  it was the psychiatric unit that provided care.   If a
                                 hospital's name reveals sensitive information, abbreviate the name.
                           2.    Use the corporate name     if it is different from the commercial         name
                                 of a mental institution or drug rehabilitation    center.

                           3.    Do not report the account if either of the above two options would
                                 not sufficiently protect the consumer's  privacy.
                           Note:       Encoded     information    is not   acceptable   in this   field.



                                                        CREDIT REPORTING RESOURCE GUIDO'                                            I      4-35
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